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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK



  UNITED STATES,

                            Plaintiff,
                                                                        19 Cr. 0561 (LAP)
             v.

  STEVEN DONZIGER,

                            Defendant.




                              DECLARATION OF MARTIN GARBUS

I, Martin Garbus, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746, that the following

is true and correct:

    1. I am an attorney for Steven Donziger in this case.

    2. I submit this declaration in support of the accompanying motion which seeks:

                  a. Dismissal of the case because the vindictive and selective prosecution of

                       Steven Donziger in violation of the Due Process and Equal Protection

                       guaranteed to him by the Constitution of the United States and the laws of the

                       United States, as well as unconstitutional use and application of Rule 42 of the

                       Federal Rules of Criminal Procedure

                  b. Discovery of further facts related to the dismissal claims, specifically

                       addressing the roles, relationships and actions of Judge Kaplan, the private

                       prosecutor, Chevron and Judge Preska.
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3. I will not set forth the long history of this prosecution, but certain key facts are worth

   repeating:

           a. Geoffrey Berman, then the United States Attorneys for the Southern District

                refused Judge Kaplan’s request to prosecute Steve Donziger on the charges in

                this case. Thereafter, Judge Kaplan appointed Rita Glavin, Brian Maloney,

                and Sareen Armani, from the law firm of Seward & Kissel (“Seward”) to act

                as a private prosecutor.

           b. Rule 42 requires that if a private prosecutor be appointed that the prosecutor

                must be disinterested. No attempt was made to appoint a disinterested

                prosecutor. The prosecutor who was appointed had many specific interests in

                the prosecution. Seward has strong ties to the oil industry, including, but not

                limited to, having represented Chevron in the recent past, and representing

                companies dependent on business from Chevron.

           c. A criminal conviction of Mr. Donziger by the Seward firm serves the financial

                and professional interest of Seward.

           d. The lead private prosecutor was severely criticized for her conduct as an

                Assistant U.S. Attorney that led to the reversal of the conviction of former

                Senator Ted Stevens of Alaska. I have been advised that this prosecutor’s

                husband, a lawyer, worked for Exxon during the same time that she was

                prosecuting this case.

           e. Judge Kaplan, after drafting and filing the criminal charges in this case,

                assigned Judge Preska to preside over the case.



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           f. Despite repeated requests, Judge Kaplan and the private prosecutor have

               refused to reveal their continuing communications with respect to this case or

               their communications with Judge Preska or Chevron.

           g. Judge Kaplan has refused to recuse himself from this case. He continues to

               make rulings that impact the criminal case. Thus, Judge Kaplan is a witness,

               the prosecutor who drafted and filed the charges, the person who appointed

               Judge Preska to preside over the criminal trial, and a judge who continues to

               make rulings impacting the criminal trial. All of this makes Fed R. Crim. P.

               42, as applied in this case, unconstitutional, by depriving Steven Donziger of

               an unbiased judge and unbiased prosecutor.

4. In short, many of the facts related to the apparent due process and Sixth Amendment

   violations effectuated by this prosecution are unavailable to the defense, as they are

   known only to Mr. Berman, Seward, Judge Kaplan and Judge Preska.

5. Mr. Berman, before he was fired as U.S. Attorney for the Southern District of New York,

   claimed he had insufficient resources to prosecute Steven Donziger. We do not know if

   this is true. We understand the cost of the private prosecutor’s expenses since Judge

   Preska’s appointment, approved by Judge Preska, exceed $500,000 and a trial has not yet

   occurred. If there is a trial conviction, and appeal, the total cost to the taxpayers for

   prosecuting this petty offense will likely exceed $1 million.

6. I contacted Mr. Berman in an attempt to learn more about the most unusual procedural

   history and posture of this case. He refused to answer any questions about the case.




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7. Mr. Berman was fired as United States Attorney by former President Trump and Attorney

   General William Barr. Discovery will reveal the reasons why Mr. Berman refused to

   prosecute, whether his refusal to prosecute was related in any way to his termination, and

   who was involved in the decision to overrule Mr. Berman’s judgment of non-prosecution

   and pursue prosecution regardless, at taxpayer expense.

8. Mr. Giuliani has a long history of strong ties to the oil and gas industry. In 2005 Giuliani

   became a partner in Bracewell & Giuliani. In addition to representing Chevon, the New

   York Times reported that Giuliani’s firm was “perhaps the most aggressive lobbyist for

   coal fired power plants ... one of the highest profile defenders of oil and gas.” Giuliani

   represented Chevron on a host of matters including in a sale of property worth $242

   million. Bracewell’s partners acknowledged that Giuliani had played a large port in their

   firms’ nomination by the 2020 oil and gas industry as “firm of the year.”

9. Chevron has been a Gold Club sponsor of the Federalist Society, donating between

   $50,000 and $90,000 annually. Gibson Dunn was one of the more substantial funders of a

   Federal Society Event honoring Judge Loretta Preska, a member of that society.

   Discovery will elucidate such connections and show, for example, if Judge Preska,

   Chevron, Gibson Dunn, and the Seward prosecutors are linked by other such civic

   connections or sit on other boards or committees together.

10. Judge Preska, Judge Kaplan and the other parties mentioned in this Declaration may

   claim the publicly reported information is inaccurate. We should know that now before

   this motion is adjudicated. Members of the Federal government and judiciary referred to

   should set forth the facts that are within their knowledge concerning this prosecution. It

   may make further discovery unnecessary. It will certainly make the facts clear, both to


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   the defendants and any future judges, trial and appellate, that are asked to decide any of

   these motions. Sunlight is sought.

11. If Judge Preska and Judge Kaplan claim that this is not a selective prosecution, then they

   should show the facts that support that now. This is very different than the more usual

   selective prosecution motion or recusal motion or a motion attacking the unconstitutional

   application of a rule or statue.

12. Judge Preska, Judge Kaplan and Seward are not uninvolved, dispassionate third parties.

   Neither Steve Donziger nor his counsel can possibly be aware of all of the relevant facts

   on this motion without further discovery and/or an evidentiary hearing.



   DATED: April 12, 2021                         Respectfully submitted,

                                                     /s
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